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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §   2:06-CR-21(3) (TJW-CE)
                                                   §
 ERIC WAYNE DORGAN                                 §

                                    MEMORANDUM ORDER

        The court referred a petition, alleging violation of supervised release conditions, to United

 States Magistrate Judge Chad Everingham at Marshall, Texas for consideration pursuant to

 applicable laws and orders of this court. The court has received and considered the Report of the

 United States Magistrate Judge filed pursuant to such order, along with the record, pleadings, and

 all available evidence.

        At the close of the November 30, 2010, revocation hearing, defendant, defense counsel and

 counsel for the government signed a standard form waiving their right to object to the proposed

 findings and recommendations contained in the United States Magistrate Judge's report, consenting

 to revocation of supervised release and consenting to the imposition of the sentence recommended

 in the report. Defendant also waived his right to be present and speak before the district judge

 imposes the recommended sentence.           Therefore, the Court may act on the report and

 recommendation immediately.

        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

 and the report of the magistrate judge is ADOPTED. It is therefore

        ORDERED that the defendant’s plea of true to allegations as set forth in the government’s

 petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations, the court finds

 that the defendant violated the conditions of his supervised release. It is further
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         ORDERED that the defendant’s supervised release be REVOKED. Judgment and

 commitment will be entered separately, in accordance with the magistrate judge's recommendations.

 It is further

         ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of 9 months, with 12 months of supervised release to follow such term of

 imprisonment.

          SIGNED this 10th day of December, 2010.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE




                                                 2
